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                 EXHIBIT B-128
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                    IN THE SUPERIOR COURT OF FULTON COUNTY                           FILED IN OFFICE
                                STATE OF GEORGIA

RE: Special Purpose Grand Jury                       •


                                                     •      CASE NO. 2022-EX-000024



                                                     •

   REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
              RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned    hereby requests    permission   to use a recording device in
Courtroom SD in order to [8]record images and/ or [8]sound during all or
portions of the proceedings in the above captioned case/ calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): [8]computer of any size, including a
tablet, a notebook, and a laptop; [8]smart phone, a cell phone or other wireless
phone; 1:8]camera and other audio or video recording devices 1:8]any similar
devices (a small digital voice recorder).

The proceedings  that the undersigned desires to record commence on (date and
time) Jan. 24, 2023. Subject to direction from the court regarding possible
pooled coverage, the undersigned wishes to use this device in the courtroom on
(date and time)   Jan. 24, 2023.


The personnel       who will be responsible              for the use of this recording device are:
(identify   appropriate    personnel    or   individual)    Associated    Press   reporter   Kate
Brumback,         photographer,        video journalist        (the AP would prefer not to be
pool).


The undersigned           hereby certifies that the device to be used and the locations


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and operation of such device will be in conformity with Rule 22 and any
guidelines issued by the court.
*Notice to Requesting Agency or Individual*
In order to be deemed timely by the Court, this request must be
submitted 24 business hours prior to the proceeding for which it is
requested due to mandatory notice requirements.

The Associated Press
(News Agency/Media Outlet/Law Firm/Individual             Representative)

kbrumback@ap.org
(Email Address)

404-522-8971
(Phone Number)

ORDER APPROVING/DISAPPROVING REQUEST:
         The request is:
               ~Approved


              The requesting agency:
                            be pool for its media
                     ~Shall   not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

So ORDERED this 19th day of_J_an_u_a_ry~--------~                     2023




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                     Judge of Superior Court of Fulton County
                              Atlanta Judicial Circuit




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